      Case 8:22-cr-00075-JWH Document 1 Filed 06/03/22 Page 1 of 4 Page ID #:1



                                                                 06/03/2022
 1
                                                                     DVE
 2

 3

 4

 5

 6

 7

 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,               No. 8:22-cr-00075-JWH
11
              Plaintiff,                     I N F O R M A T I O N
12
              v.                             [26 U.S.C. § 7206(1): Subscribing
13                                           to a False Tax Return]
     GURCHARAN SINGH,
14
              Defendant.
15

16

17        The United States Attorney charges:
18                                     COUNT ONE
19                              [26 U.S.C. § 7206(1)]
20        On or about September 7, 2018, in Orange County, within the
21   Central District of California, and elsewhere, defendant GURCHARAN
22   SINGH, a resident of Anaheim, California, willfully made and
23   subscribed to a materially false joint U.S. Individual Income Tax
24   Return, Form 1040, for calendar year 2017, which was verified by a
25   written declaration that it was made under the penalties of perjury,
26   which was filed with the Internal Revenue Service, and which
27   defendant SINGH did not believe to be true and correct as to every
28   material matter, in that on line 22 of his Form 1040, defendant SINGH
      Case 8:22-cr-00075-JWH Document 1 Filed 06/03/22 Page 2 of 4 Page ID #:2



 1   reported that his total income for the calendar year 2017 was

 2   $44,865, when, in fact, as defendant SINGH then knew, his total

 3   income for calendar year 2017 was approximately $3,901,321.

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            2
      Case 8:22-cr-00075-JWH Document 1 Filed 06/03/22 Page 3 of 4 Page ID #:3



 1                                     COUNT TWO

 2                              [26 U.S.C. § 7206(1)]

 3           On or about October 14, 2019, in Orange County, within the

 4   Central District of California, and elsewhere, defendant GURCHARAN

 5   SINGH, a resident of Anaheim, California, willfully made and

 6   subscribed to a materially false joint U.S. Individual Income Tax

 7   Return, Form 1040, for calendar year 2018, which was verified by a

 8   written declaration that it was made under the penalties of perjury,

 9   which was filed with the Internal Revenue Service, and which

10   defendant SINGH did not believe to be true and correct as to every

11   material matter, in that on line 6 of his Form 1040, defendant SINGH

12   reported that his total income for the calendar year 2018 was

13   / / /

14   / / /

15   / / /

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            3
      Case 8:22-cr-00075-JWH Document 1 Filed 06/03/22 Page 4 of 4 Page ID #:4



 1   $59,856, when, in fact, as defendant SINGH then knew, his total

 2   income for calendar year 2018 was approximately $2,556,195.

 3

 4                                              TRACY L. WILKISON
                                                United States Attorney
 5

 6

 7                                              SCOTT M. GARRINGER
                                                Assistant United States Attorney
 8                                              Chief, Criminal Division
 9                                              BENJAMIN R. BARRON
                                                Assistant United States Attorney
10                                              Chief, Santa Ana Branch Office
11                                              JENNIFER WAIER
                                                Assistant United States Attorney
12                                              Deputy Chief, Santa Ana Branch
                                                Office
13
                                                BENJAMIN D. LICHTMAN
14                                              Assistant United States Attorney
                                                Santa Ana Branch Office
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            4
